Case 16-54216-pmb         Doc 43     Filed 03/08/19 Entered 03/08/19 16:07:26           Desc Main
                                    Document      Page 1 of 19




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


IN RE:                                         :       CHAPTER 7
                                               :
RHANDI DANELL THOMAS,                          :       CASE NO. 16-54216-PMB
                                               :
         Debtor.                               :
                                               :


              TRUSTEE'S MOTION FOR APPOINTMENT OF SPECIAL COUNSEL

         COMES NOW S. Gregory Hays, as Chapter 7 Trustee (the “Trustee” or “Applicant”) for

the bankruptcy estate of Rhandi Danell Thomas (“Ms. Thomas”), and moves this Court for an

Order authorizing Trustee to retain as special counsel on behalf of the estate: Carl E. Douglas of

The Douglas Firm, APC and Antablin & Bruce, ALP (collectively referred to as “Special

Counsel”) to represent the estate with respect to any and all claims outstanding related to and

arising out of the beating death of Darren Burley on August 3, 2012 (“Incident”), respectfully

showing this Court as follows:

         1.      Ms. Thomas filed a voluntary petition for relief under Chapter 7 of Title 11 of the

United States code on March 4, 2016 (the “Petition Date”).

         2.      Trustee has investigated the pre-petition claims of Ms. Thomas against certain

individuals arising from the Incident as set forth above (the “Claims”).

         3.      Ms. Thomas scheduled her interest in the Claims at Question 34 of Schedule A/B:

Property to disclose appropriately the Claims and schedule an exemption up to 100% fair market

value, up to any applicable statutory limit.




                                                   1
10500955v1
Case 16-54216-pmb        Doc 43     Filed 03/08/19 Entered 03/08/19 16:07:26              Desc Main
                                   Document      Page 2 of 19



          4.   On her Schedule C: The Property You Claim as Exempt (“Schedule C”), Debtor

scheduled the Claims with a current value as “none” and checked the box indicating a claim of

exemption in the amount of “100% of fair market value, up to any applicable statutory limit”

under O.C.G.A. § 44-13-100(a)(6) (the “Wrongful Death Exemption”). [Doc. No. 1 at page 31

of 63].

          5.   On June 9, 2016, Trustee filed an objection [Doc. No. 13] to Ms. Thomas’s claimed

exemptions, including her Wrongful Death Exemption in the Claims. Following this objection, the

Court entered a consent order [Doc. No. 31], limiting Debtor’s claimed exemptions in the Claims to

$11,098.00 under O.C.G.A. § 44-13-100(a)(6).

          6.   Prior to the Petition Date, the Claims had been adjudicated, but the award has been

appealed to the Supreme Court of California, the highest court in California.

          7.   More specifically, Debtor and her co-defendants obtained a judgment in the Los

Angeles Superior Court against the County of Los Angeles and its employees in the case entitled

Burley et al v County of Los Angeles, Case No. BC505918, arising out of the death of Darren

Burley, the father of Daniel and Dylan Burely. The Burley case was consolidated with two other

cases, Earl v County of Los Angeles, et al. Case No. TC027348 and Scott et al v County of Los

Angeles, Case No. TC027341. The cases were tried resulting in a verdict and judgments for

Plaintiffs against Defendants County of Los Angeles and Sheriff’s Deputies Aviles and Beserra. The

Defendants filed an appeal from the judgments and the plaintiffs filed cross appeals in the California

Court of Appeal in the consolidated case entitled B.B. v. County of Los Angeles, Court of Appeal

Case No. B264946.

          8.   On July 10, 2018, the Court of Appeal issued a ruling in which it reversed the

amount of the judgments against Defendant Aviles. Specifically, the Court of Appeal held that


                                                  2
10500955v1
Case 16-54216-pmb        Doc 43     Filed 03/08/19 Entered 03/08/19 16:07:26             Desc Main
                                   Document      Page 3 of 19



Defendant Aviles was only responsible for 20% of the judgments, instead of the original 100% of

the judgment as found by the Superior Court. The Court of Appeal also granted Plaintiffs’ cross

appeal and reinstated Plaintiffs’ claims under the Bane Act (Civil Code Section 52.1) which had

been dismissed before trial by the Superior Court.

        9.     Trustee would like to employ Special Counsel in the event that the matter needs to

be retried following appeals (Trustee has previously employed Schonbrun Seplow Harris &

Hoffman LLP to act as appellate counsel for the estate).

        10.    Trustee has selected Special Counsel for their well-known experience and

qualifications in this type of litigation and because Special Counsel has been handling the foregoing

Claims for Ms. Thomas pre and post-petition. The verified statements of Special Counsel are

attached and incorporated herein as Exhibit “A-1” and Exhibit “A-2”.

        11.    The professional services Special Counsel may render include:

                       (a)     To give Trustee legal advice regarding any trial or

                               settlement offer with respect to the Claims;

                       (b)     To examine and defend the examination of witnesses

                               in the Claims matters in deposition, administrative

                               hearings, or at trial;

                       (c)     To prepare on Plaintiff/Trustee's behalf motions,

                               pleadings, discovery papers, and all other papers

                               reasonably necessary to pursue said Claims;

                       (d)     To prepare form of pre-trial orders, prepare the cases

                               for trial, try the cases, and prosecute any appeals or




                                                    3
10500955v1
Case 16-54216-pmb        Doc 43      Filed 03/08/19 Entered 03/08/19 16:07:26              Desc Main
                                    Document      Page 4 of 19



                               related proceedings as may arise from the Claims

                               matters; and

                       (e)     To    perform     all   other   legal      services   for

                               Plaintiff/Trustee in the Claims matters.

        12.    On or about August 18, 2012, Ms. Thomas entered into a Contingency Fee Retainer

Agreement with Special Counsel, a true and correct copy of which is attached as Exhibit “B” (the

“Contracts”), to pursue claims pertaining to certain issues suffered by Ms. Thomas. The Contract

provides that in Special Counsel will be paid one-third of any total amount recovered if a complaint

is not filed and 40% of any total amount recovered if a complaint is filed, and in either case will be

reimbursed for out-of-pocket expenses. However, now that Trustee is seeking the employment of

Special Counsel, any proposed settlement or fee awarded to Special Counsel will be subject to

and not binding without approval of the Bankruptcy Court.

        13.    To the best of Trustee's knowledge, Special Counsel has no connection with Ms.

Thomas‘s creditors, or any other party in interest, or their respective attorneys. More particularly,

to the best of Applicant’s knowledge, and except as otherwise disclosed herein and in the

Bankruptcy Rule 2014 Verification of Special Counsel, the firm has no connection with the

aforementioned Debtor, her creditors, any party in interest in this case, their attorneys and

accountants, the United States Trustee, or any person employed in the Office of the United States

Trustee. Said firm does not hold or represent an interest adverse to the estate, does not represent

any creditor or other known interested party, and is a disinterested person under 11 U.S.C. §

327(a), as that term is defined in 11 U.S.C. § 101(14).




                                                  4
10500955v1
Case 16-54216-pmb           Doc 43    Filed 03/08/19 Entered 03/08/19 16:07:26             Desc Main
                                     Document      Page 5 of 19



        14.      Special Counsel represents no interest adverse to Trustee or the estate in the matters

upon which Special Counsel is to be engaged and the employment of Special Counsel would be in

the best interests of this estate.

        15.      The Contract would continue as the fee arrangement for Special Counsel, except that

Special Counsel's services would be subject to approval of this Court.

        16.      Trustee proposes that Special Counsel be compensated for its services in accordance

with future orders of the Court based upon the criteria for professional compensation required by

bankruptcy law.      No compensation will be paid by Trustee to Special Counsel except upon

application to and approval by the Court after notice and hearing as required by law.

        WHEREFORE, Trustee prays that this Motion be granted, enabling him to retain Special

Counsel as special counsel for such purposes as requested herein and that the Court grant such other

relief as is just and proper.

        Respectfully submitted this 8th day of March, 2019.

                                                        ARNALL GOLDEN GREGORY LLP
                                                        Attorneys for Trustee

                                                        By:    /s/ Michael J. Bargar
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Atlanta, GA 30363                                             Georgia Bar No. 645709
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                                                   5
10500955v1
Case 16-54216-pmb   Doc 43    Filed 03/08/19 Entered 03/08/19 16:07:26   Desc Main
                             Document      Page 6 of 19
Case 16-54216-pmb   Doc 43    Filed 03/08/19 Entered 03/08/19 16:07:26   Desc Main
                             Document      Page 7 of 19
Case 16-54216-pmb   Doc 43    Filed 03/08/19 Entered 03/08/19 16:07:26   Desc Main
                             Document      Page 8 of 19
Case 16-54216-pmb   Doc 43    Filed 03/08/19 Entered 03/08/19 16:07:26   Desc Main
                             Document      Page 9 of 19
Case 16-54216-pmb   Doc 43    Filed 03/08/19 Entered 03/08/19 16:07:26   Desc Main
                             Document     Page 10 of 19
Case 16-54216-pmb   Doc 43    Filed 03/08/19 Entered 03/08/19 16:07:26   Desc Main
                             Document     Page 11 of 19
Case 16-54216-pmb   Doc 43    Filed 03/08/19 Entered 03/08/19 16:07:26   Desc Main
                             Document     Page 12 of 19
Case 16-54216-pmb   Doc 43    Filed 03/08/19 Entered 03/08/19 16:07:26   Desc Main
                             Document     Page 13 of 19
Case 16-54216-pmb   Doc 43    Filed 03/08/19 Entered 03/08/19 16:07:26   Desc Main
                             Document     Page 14 of 19
Case 16-54216-pmb   Doc 43    Filed 03/08/19 Entered 03/08/19 16:07:26   Desc Main
                             Document     Page 15 of 19
Case 16-54216-pmb   Doc 43    Filed 03/08/19 Entered 03/08/19 16:07:26   Desc Main
                             Document     Page 16 of 19
Case 16-54216-pmb   Doc 43    Filed 03/08/19 Entered 03/08/19 16:07:26   Desc Main
                             Document     Page 17 of 19
Case 16-54216-pmb         Doc 43    Filed 03/08/19 Entered 03/08/19 16:07:26       Desc Main
                                   Document     Page 18 of 19




                                   CERTIFICATE OF SERVICE

        This is to certify that I have this day served the foregoing TRUSTEE'S MOTION FOR

APPOINTMENT OF SPECIAL COUNSEL by depositing in the United States mail a copy of

same in a properly addressed envelope with adequate postage affixed thereon to assure delivery

by first class mail to the following entities at the addresses stated:

Office of the United States Trustee
362 Richard B. Russell Building
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10500955v1
Case 16-54216-pmb       Doc 43    Filed 03/08/19 Entered 03/08/19 16:07:26   Desc Main
                                 Document     Page 19 of 19



        This 8th day of March, 2019.

                                                /s/ Michael J. Bargar
                                                Michael J. Bargar
                                                Georgia Bar No. 645709




10500955v1
